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   EXHIBIT 4
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                                                                       HOME       ARMY ROTC        COLLEGE STUDENTS         FAQ
               Army ROTC

                  Legacy & Value
                                                                    ARMY ROTC
                  Ways to Attend

                  Scholarships

                  Courses and Colleges

                  Service Commitment

                  Post-ROTC Careers

                  Success Stories

                  High School Students

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                     FAQ
                                                                    ARMY ROTC: COLLEGE SCHOLARSHIP FAQ
                  Enlisted Soldiers
                                                                    COLLEGE SCHOLARSHIPS: YOU HAVE QUESTIONS. WE HAVE ANSWERS
                  Parents & Advisors
                                                                    DECIDING TO ENROLL AND SCHOLARSHIPS


                                                                      How does college ROTC work? Is enrolling in Army ROTC the same as joining the Army? Once a student starts
                                                                      taking ROTC courses, is he/she obligated to join the Army?
                                                                      What kinds of scholarships are available in Army ROTC? Are any of the scholarships retroactive?
                                                                      What is my Army service obligation to pay back any scholarship benefits or for enrollment in the ROTC Advanced
                                                                      Course?
                                                                      What good is Army ROTC for a career outside of the Army?
                                                                      Why should I choose Army ROTC over a different branch's ROTC?
                                                                      How do I learn more about the Army?


                                                                    ACADEMICS AND LIFESTYLE


                                                                      Are all college majors compatible with Army ROTC?
                                                                      What are Army ROTC courses like? How will the class work help me? Will ROTC classes interfere with my other
                                                                      studies?
                                                                      How will being an Army ROTC Cadet affect my daily life? What is ROTC in college like? Do Cadets experience
                                                                      normal college life and activities?


                                                                    AFTER GRADUATION                                                                            START LIVE CHAT

                                                                      What are the chances that I will be deployed to support the Global War on Terrorism?
                                                                      Can I go into the Army Reserve or National Guard after graduation instead of the regular Army?
                                                                      What is the typical career path for an Army Officer? What career fields are available?
                                                                      What kind of salary and benefits will I earn as a commissioned Army Officer?


                                                                    IS ENROLLING IN ARMY ROTC THE SAME AS JOINING THE ARMY? ONCE A STUDENT STARTS TAKING
                                                                    ROTC COURSES, IS HE/SHE OBLIGATED TO JOIN THE ARMY?
                                                                    Enrolling in Army ROTC is not, strictly speaking, joining the Army. You will not be sent to boot camp. However,
                                                                    the primary purpose of the Army ROTC program is to produce its Officers, so you must agree to serve as
                                                                    Officers in the Army after graduation in order to go through the entire program, or if you have received an
                                                                    ROTC scholarship. Enrolling in the ROTC Basic Course (the first two years of college) does NOT obligate you
                                                                    to serve unless you have also received a scholarship. For more details, see: Service Commitment.

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                                                                    WHAT KINDS OF SCHOLARSHIPS ARE AVAILABLE IN ARMY ROTC? ARE ANY OF THE SCHOLARSHIPS
                                                                    RETROACTIVE?
                                                                    Army ROTC offers two-, three- and four-year scholarships, which pay full tuition and fees, include a separate
                                                                    allowance for books, and a monthly stipend of up to $5,000 a year. Army ROTC scholarships are not
                                                                    retroactive.

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                                                                                                SEARCH                                                                    GET IN TOUCH


https://www.goarmy.com/rotc/college-students/faq.html#Isenrolling                                                                                                                        1/3
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                                                                    WHAT IS MY ARMY SERVICE OBLIGATION TO PAY BACK ANY SCHOLARSHIP BENEFITS OR FOR
                                                                    ENROLLMENT IN THE ROTC ADVANCED COURSE?
                                                                    Scholarship winners must serve for four years; non-scholarship Cadets who enroll in the ROTC Advanced
                                                                    Course must serve for three years. All who graduate and complete ROTC training are commissioned as
                                                                    Second Lieutenants in the U.S. Army. For more details, and answers to common questions, see: Service
                                                                    Commitment.

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                                                                    WHAT GOOD IS ARMY ROTC FOR A CAREER OUTSIDE OF THE ARMY?
                                                                    Army ROTC is one of the only college programs that teaches leadership. This training is invaluable for any
                                                                    career that involves leading, managing and motivating people or fostering teamwork. Young Army Officers are
                                                                    typically responsible for hundreds of Soldiers and millions of dollars in equipment; this kind of management
                                                                    experience can be very attractive for post-Army employers. For more details, see: Legacy & Value.

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                                                                    WHY SHOULD I CHOOSE ARMY ROTC OVER A DIFFERENT BRANCH'S ROTC?
                                                                    The Army offers a wider range of career opportunities, in more places around the world, than any other U.S.
                                                                    military branch.

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                                                                    HOW DO I LEARN MORE ABOUT THE ARMY?
                                                                    Starting by exploring the Army experience from our Home Page is a great start.

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                                                                    ARE ALL COLLEGE MAJORS COMPATIBLE WITH ARMY ROTC?
                                                                    Army ROTC Cadets are allowed to major in nearly all academic areas.

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                                                                    WHAT ARE ARMY ROTC COURSES LIKE? HOW WILL THE CLASS WORK HELP ME? WILL ROTC CLASSES
                                                                    INTERFERE WITH HIS/HER OTHER STUDIES?
                                                                    Army ROTC classes normally involve one elective class and one lab per semester. Although the classes
                                                                    involve hands-on fieldwork as well as classroom work, they are standard college classes that fit into a normal
                                                                    academic schedule. These courses can help students with personal and academic decision making while
                                                                    giving them the tools to exercise leadership in college life, even before graduating and becoming Officers. For
                                                                    more details, see: Curriculum.

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                                                                    HOW WILL BEING AN ARMY ROTC CADET AFFECT MY DAILY LIFE? WHAT IS ROTC IN COLLEGE LIKE? DO
                                                                    CADETS EXPERIENCE NORMAL COLLEGE LIFE AND ACTIVITIES?
                                                                    Army ROTC Cadets have the same lifestyles and academic schedules as any other college students. They
                                                                    join fraternities and sororities. They participate in varsity team and individual sports. They take part in
                                                                    community service projects. But there are two intensive Army ROTC courses that take place on Army Posts,
                                                                    usually during the summer:

                                                                         Leader's Training Course—This four-week summer course at Fort Knox, Kentucky is ONLY for students who
                                                                         enroll in Army ROTC without having taken the first two years of military science classes.
                                                                         Leader Development and Assessment Course—All Cadets who enter the Advanced Course must attend this five-
                                                                         week summer course at Fort Lewis, WA between their junior and senior years.
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                                                                                                                                                                 START LIVE CHAT
                                                                    WHAT ARE THE CHANCES THAT I WILL BE DEPLOYED TO SUPPORT THE GLOBAL WAR ON TERRORISM?
                                                                    It depends on the Army branch the Cadet chooses and the unit to which he/she is assigned. However, Army
                                                                    missions and challenges are always changing, so there's no way to know in advance which specialties and
                                                                    units will be needed where. All Soldiers in the Army or Army Reserve face the possibility of deployment at
                                                                    some point during their careers. But all Soldiers are fully trained and proficient in the tasks and drills of their
                                                                    units. And Officers are specifically trained to make the right decisions so that missions can be carried out
                                                                    safely and successfully.

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                                                                    CAN I GO INTO THE ARMY RESERVE OR NATIONAL GUARD AFTER GRADUATION INSTEAD OF THE
                                                                    REGULAR ARMY?
                                                                    Yes. Selected Cadets may choose to serve part-time in the U.S. Army Reserve or Army National Guard while
                                                                    pursuing a civilian career. For more details, see: Active Duty & Army Reserve or the Army National Guard
                                                                    website.

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                                                                    WHAT IS THE TYPICAL CAREER PATH FOR AN ARMY OFFICER? WHAT CAREER FIELDS ARE AVAILABLE?
                                                                    Army ROTC graduates are commissioned as U.S. Army Second Lieutenants. They then receive specialized
                                                                    training in one of 17 different Army branches. During their Army careers, they'll receive regular professional
                                                                    training as they advance through the ranks, and they'll have many opportunities for advanced leadership
                                                                    positions and post-graduate education.

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                                                                                                 SEARCH                                                                     GET IN TOUCH


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                                                                    WHAT KIND OF SALARY AND BENEFITS WILL I EARN AS A COMMISSIONED ARMY OFFICER?
                                                                    Visit the Benefits section of this site for complete details and answers to common questions. Specifically, the
                                                                    Money sub-section provides details on pay for both Officers and Enlisted Soldiers.

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                                                                                  GET IN TOUCH.
                                                   Ready to take the next step? Reach out and we'll help you get there.




                                                                            CONTACT A                               REQUEST
                                      CHAT                                                                                                             1-888-944-ARMY
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